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Table H-3.
U.S. District Courts—Pretrial Services Recommendations Made For Initial Pretrial Release
For the 12-Month Period Ending September 30, 2019
                                       Type of PSO1 Recommendation Made3                               Type of AUSA2 Recommendation Made3
                                                                                                AUSA
                            PSO Recommended        Detention             Release            Recommendation          Detention             Release
 Circuit and    Cases
   District    Activated     Total     Pct.     Total        Pct.     Total        Pct.     Total      Pct.      Total        Pct.     Total        Pct.


      TOTAL       108,163     97,784     90.4     69,571       71.1    28,213        28.9     98,071      90.7    75,365        76.8    22,706         23.2



1ST                 2,730      2,342     85.8      1,450       61.9        892       38.1      2,330      85.3     1,754        75.3       576         24.7

        ME            298        202     67.8           93     46.0        109       54.0       202       67.8       135        66.8           67      33.2
        MA            760        558     73.4       265        47.5        293       52.5       557       73.3       324        58.2       233         41.8
        NH            280        216     77.1       108        50.0        108       50.0       214       76.4       111        51.9       103         48.1
        RI            143        132     92.3           76     57.6           56     42.4       133       93.0           88     66.2           45      33.8
        PR          1,249      1,234     98.8       908        73.6        326       26.4      1,224      98.0     1,096        89.5       128         10.5

2ND                 3,942      3,690     93.6      1,808       49.0     1,882        51.0      3,669      93.1     2,239        61.0     1,430         39.0

        CT            534        446     83.5       200        44.8        246       55.2       434       81.3       255        58.8       179         41.2
        NY,N          442        416     94.1       313        75.2        103       24.8       411       93.0       315        76.6           96      23.4
        NY,E          811        786     96.9       375        47.7        411       52.3       781       96.3       483        61.8       298         38.2
        NY,S        1,403      1,376     98.1       601        43.7        775       56.3      1,375      98.0       738        53.7       637         46.3
        NY,W          536        496     92.5       228        46.0        268       54.0       495       92.4       320        64.6       175         35.4
        VT            216        170     78.7           91     53.5           79     46.5       173       80.1       128        74.0           45      26.0

3RD                 3,583      3,390     94.6      1,911       56.4     1,479        43.6      3,382      94.4     2,074        61.3     1,308         38.7

        DE            133        131     98.5       100        76.3           31     23.7       131       98.5       101        77.1           30      22.9
        NJ          1,399      1,342     95.9       678        50.5        664       49.5      1,342      95.9       716        53.4       626         46.6
        PA,E          866        853     98.5       492        57.7        361       42.3       853       98.5       554        64.9       299         35.1
        PA,M          445        376     84.5       268        71.3        108       28.7       370       83.1       267        72.2       103         27.8
        PA,W          592        567     95.8       304        53.6        263       46.4       566       95.6       352        62.2       214         37.8
        VI            148        121     81.8           69     57.0           52     43.0       120       81.1           84     70.0           36      30.0




                                                                      EXHIBIT
                                                                              B                                                          Page 1 of 4
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Table H-3. (September 30, 2019—Continued)


                                       Type of PSO1 Recommendation Made3                               Type of AUSA2 Recommendation Made3
                                                                                                AUSA
                            PSO Recommended        Detention             Release            Recommendation          Detention             Release
 Circuit and    Cases
   District    Activated     Total     Pct.     Total        Pct.     Total        Pct.     Total      Pct.      Total        Pct.     Total        Pct.

4TH                 6,411      4,872     76.0      3,069       63.0     1,803        37.0      5,093      79.4     3,678        72.2     1,415         27.8

      MD              668        631     94.5       423        67.0        208       33.0       629       94.2       432        68.7       197         31.3
      NC,E          1,088        823     75.6       592        71.9        231       28.1       823       75.6       702        85.3       121         14.7
      NC,M            412        388     94.2       236        60.8        152       39.2       386       93.7       279        72.3       107         27.7
      NC,W            607        553     91.1       414        74.9        139       25.1       549       90.4       450        82.0           99      18.0
      SC              948        685     72.3       369        53.9        316       46.1       680       71.7       411        60.4       269         39.6
      VA,E          1,512        873     57.7       406        46.5        467       53.5      1,084      71.7       715        66.0       369         34.0
      VA,W            406        319     78.6       243        76.2           76     23.8       309       76.1       243        78.6           66      21.4
      WV,N            372        304     81.7       162        53.3        142       46.7       303       81.5       164        54.1       139         45.9
      WV,S            398        296     74.4       224        75.7           72     24.3       330       82.9       282        85.5           48      14.5

5TH                26,777     24,455     91.3     20,039       81.9     4,416        18.1     24,413      91.2    21,127        86.5     3,286         13.5

      LA,E            333        312     93.7       196        62.8        116       37.2       311       93.4       226        72.7           85      27.3
      LA,M            186        136     73.1           67     49.3           69     50.7       136       73.1           84     61.8           52      38.2
      LA,W            435        279     64.1       182        65.2           97     34.8       261       60.0       179        68.6           82      31.4
      MS,N            225        174     77.3           77     44.3           97     55.7       174       77.3           82     47.1           92      52.9
      MS,S            587        533     90.8       432        81.1        101       18.9       531       90.5       422        79.5       109         20.5
      TX,N          1,084      1,031     95.1       561        54.4        470       45.6      1,017      93.8       720        70.8       297         29.2
      TX,E            934        757     81.0       555        73.3        202       26.7       755       80.8       640        84.8       115         15.2
      TX,S         11,479      9,884     86.1      8,350       84.5     1,534        15.5      9,875      86.0     8,703        88.1     1,172         11.9
      TX,W         11,514     11,349     98.6      9,619       84.8     1,730        15.2     11,353      98.6    10,071        88.7     1,282         11.3

6TH                 6,518      5,548     85.1      3,511       63.3     2,037        36.7      5,651      86.7     3,978        70.4     1,673         29.6

      KY,E            642        512     79.8       378        73.8        134       26.2       514       80.1       390        75.9       124         24.1
      KY,W            446        346     77.6       229        66.2        117       33.8       346       77.6       252        72.8           94      27.2
      MI,E          1,045        967     92.5       512        52.9        455       47.1       966       92.4       583        60.4       383         39.6
      MI,W            414        399     96.4       249        62.4        150       37.6       399       96.4       302        75.7           97      24.3
      OH,N          1,020        868     85.1       562        64.7        306       35.3       879       86.2       616        70.1       263         29.9
      OH,S            883        745     84.4       299        40.1        446       59.9       745       84.4       398        53.4       347         46.6
      TN,E            996        954     95.8       774        81.1        180       18.9       954       95.8       805        84.4       149         15.6
      TN,M            367        193     52.6       162        83.9           31     16.1       284       77.4       213        75.0           71      25.0
      TN,W            705        564     80.0       346        61.3        218       38.7       564       80.0       419        74.3       145         25.7


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Table H-3. (September 30, 2019—Continued)

                                         Type of PSO1 Recommendation Made3                               Type of AUSA2 Recommendation Made3
                                                                                                  AUSA
                             PSO Recommended         Detention           Release              Recommendation          Detention           Release
  Circuit and    Cases
    District    Activated     Total      Pct.     Total      Pct.     Total        Pct.       Total      Pct.      Total      Pct.     Total         Pct.
7TH                  3,221      2,789      86.6     1,654      59.3     1,135        40.7       2,785      86.5      2,039      73.2       746         26.8
       IL,N          1,080      1,014      93.9        501     49.4       513        50.6       1,017      94.2         684     67.3       333         32.7
       IL,C            285        273      95.8        220     80.6         53       19.4          272     95.4         232     85.3         40        14.7
       IL,S            347        255      73.5        155     60.8       100        39.2          255     73.5         186     72.9         69        27.1
       IN,N            372        352      94.6        261     74.1         91       25.9          353     94.9         286     81.0         67        19.0
       IN,S            658        580      88.1        381     65.7       199        34.3          573     87.1         481     83.9         92        16.1
       WI,E            304        232      76.3        100     43.1       132        56.9          232     76.3         133     57.3         99        42.7
       WI,W            175          83     47.4         36     43.4         47       56.6           83     47.4          37     44.6         46        55.4
8TH                  6,711      5,967      88.9     3,931      65.9     2,036        34.1       5,940      88.5      4,698      79.1     1,242         20.9
       AR,E            686        516      75.2        271     52.5       245        47.5          521     75.9         335     64.3       186         35.7
       AR,W            340        290      85.3        245     84.5         45       15.5          286     84.1         248     86.7         38        13.3
       IA,N            446        387      86.8        274     70.8       113        29.2          388     87.0         297     76.5         91        23.5
       IA,S            550        505      91.8        316     62.6       189        37.4          505     91.8         390     77.2       115         22.8
       MN              457        401      87.7        214     53.4       187        46.6          387     84.7         270     69.8       117         30.2
       MO,E          1,691      1,625      96.1     1,211      74.5       414        25.5       1,638      96.9      1,382      84.4       256         15.6
       MO,W            998        904      90.6        566     62.6       338        37.4          890     89.2         749     84.2       141         15.8
       NE              595        545      91.6        386     70.8       159        29.2          532     89.4         422     79.3       110         20.7
       ND              345        232      67.2        126     54.3       106        45.7          230     66.7         149     64.8         81        35.2
       SD              603        562      93.2        322     57.3       240        42.7          563     93.4         456     81.0       107         19.0
9TH                 32,846     30,960      94.3    22,474      72.6     8,486        27.4      30,897      94.1     23,397      75.7     7,500         24.3
       AK              188        169      89.9        119     70.4         50       29.6          165     87.8         134     81.2         31        18.8
       AZ           16,929     16,260      96.0    15,104      92.9     1,156           7.1    16,266      96.1     15,514      95.4       752            4.6
       CA,N            825        807      97.8        352     43.6       455        56.4          813     98.5         530     65.2       283         34.8
       CA,E            629        619      98.4        434     70.1       185        29.9          618     98.3         524     84.8         94        15.2
       CA,C          2,036      1,930      94.8      1,129     58.5       801        41.5        1,924     94.5       1,305     67.8       619         32.2
       CA,S          8,671      8,077      93.1      3,666     45.4     4,411        54.6        8,007     92.3       3,353     41.9     4,654         58.1
       HI              233        193      82.8         61     31.6       132        68.4          193     82.8         131     67.9         62        32.1
       ID              428        297      69.4        176     59.3       121        40.7          311     72.7         245     78.8         66        21.2
       MT              434        347      80.0        255     73.5         92       26.5          347     80.0         255     73.5         92        26.5
       NV              584        546      93.5        328     60.1       218        39.9          545     93.3         392     71.9       153         28.1
       OR              572        546      95.5        305     55.9       241        44.1          546     95.5         380     69.6       166         30.4
       WA,E            430        320      74.4        234     73.1         86       26.9          316     73.5         290     91.8         26           8.2
       WA,W            808        772      95.5        281     36.4       491        63.6          769     95.2         301     39.1       468         60.9
       GUAM             63          61     96.8         21     34.4         40       65.6           61     96.8          32     52.5         29        47.5
       NM,I             16          16    100.0          9     56.3          7       43.8           16    100.0          11     68.8          5        31.3



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Table H-3. (September 30, 2019—Continued)


                                                 Type of PSO1 Recommendation Made3                                   Type of AUSA2 Recommendation Made3
                                                                                                               AUSA
                                   PSO Recommended              Detention               Release            Recommendation         Detention             Release
    Circuit and       Cases
      District       Activated         Total     Pct.        Total        Pct.       Total        Pct.     Total     Pct.      Total        Pct.     Total        Pct.

10TH                       7,927         7,353      92.8        5,846        79.5      1,507        20.5     7,349      92.7     6,196        84.3     1,153           15.7

          CO                 658           516      78.4          290        56.2        226        43.8       509      77.4       378        74.3       131           25.7
          KS                 529           454      85.8          302        66.5        152        33.5       454      85.8       324        71.4       130           28.6
          NM               4,760         4,634      97.4        4,128        89.1        506        10.9     4,629      97.2     4,221        91.2       408             8.8
          OK,N               370           318      85.9          193        60.7        125        39.3       318      85.9       214        67.3       104           32.7
          OK,E               136           124      91.2             81      65.3            43     34.7       124      91.2           98     79.0           26        21.0
          OK,W               680           595      87.5          292        49.1        303        50.9       602      88.5       327        54.3       275           45.7
          UT                 585           549      93.8          438        79.8        111        20.2       549      93.8       481        87.6           68        12.4
          WY                 209           163      78.0          122        74.8            41     25.2       164      78.5       153        93.3           11          6.7

11TH                       7,497         6,418      85.6        3,878        60.4      2,540        39.6     6,562      87.5     4,185        63.8     2,377           36.2

          AL,N               656           400      61.0          237        59.3        163        40.8       400      61.0       250        62.5       150           37.5
          AL,M               125           109      87.2             59      54.1            50     45.9       109      87.2           63     57.8           46        42.2
          AL,S               427           263      61.6          162        61.6        101        38.4       261      61.1       176        67.4           85        32.6
          FL,N               481           452      94.0          249        55.1        203        44.9       452      94.0       286        63.3       166           36.7
          FL,M             1,780         1,642      92.2          969        59.0        673        41.0     1,641      92.2     1,208        73.6       433           26.4
          FL,S             2,270         2,043      90.0        1,233        60.4        810        39.6     2,230      98.2     1,123        50.4     1,107           49.6
          GA,N               735           653      88.8          367        56.2        286        43.8       641      87.2       445        69.4       196           30.6
          GA,M               448           354      79.0          210        59.3        144        40.7       330      73.7       232        70.3           98        29.7
          GA,S               575           502      87.3          392        78.1        110        21.9       498      86.6       402        80.7           96        19.3


NOTE: This table excludes data for the District of Columbia and includes transfers received.
1
    PSO = Pretrial Services Officer.
2
    AUSA = Assistant U.S. Attorney.
3
    Excludes dismissals and cases in which release is not possible within 90 days.




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